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 6                         IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
 8
 9   Betty Vanderpoel,                                 No. CV-14-2295-PHX-DKD
10                         Plaintiff,
11   v.                                                ORDER
12   DriveTime Automotive Group Inc., et al.,
13                         Defendants.
14
15            Pursuant to the parties’ Stipulation for Dismissal with Prejudice (Doc. 24),
16   and for good cause shown,
17            IT IS HEREBY ORDERED that this case is dismissed with prejudice and
18   with each party to bear its own attorneys’ fees and costs.
19            Dated this 23rd day of February, 2016.
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